                                                United States Bankruptcy Court
                                                     Northern District of California
           Mauro Lopez
In re      Mandy Lopez                                                                            Case No.     17-10068
                                                                                                  Chapter      13
               Debtor(s)


                                   CORRECTED MODIFIED CHAPTER 13 PLAN OF NOVEMBER 14, 2020

        1. PAYMENTS
           The Debtor or Debtors (hereinafter called "Debtor") submit to the Chapter 13 Trustee all projected disposable income to
           be received within the applicable commitment period of the Chapter 13 Plan (hereinafter called "Plan"). The total number
           of payments shall be 73, and in the amount of $1,649.00 per month for 45 months, then $1,200.00 per month for 28
           months. The pre-confirmation Plan payments to the Trustee must begin 30 days from the date of the filing of the Plan or
           the Order of Relief, whichever is earlier. The post-confirmation Plan payments to the Trustee will commence on the 20th
           of the first month after the Plan is confirmed. Upon post-confirmation dismissal of this Plan, all funds held by the Trustee
           shall be disbursed to Administrative Costs and Creditors.
           Debtor elects a voluntary wage order

        2. PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS
           The following pre-confirmation adequate protection payments on claims secured by personal property shall be paid by the
           Trustee to the below listed creditors. The Debtor proposing pre-confirmation payments will commence these payments to
           the Trustee within 30 days of the date this Plan was filed or the Order of Relief, whichever is earlier. Creditors must file a
           proof of claim to receive payment from the Trustee. Payments by the Trustee should commence to these Creditors within
           30 days of the filing of the proof of claim. Upon a pre-confirmation dismissal, all adequate protection order payments
           held by the Trustee shall be disbursed to Creditors.

         Name of Creditor                            Collateral Description                                           Monthly Payment
         1. Ally Financial                           2014 Chrysler 300                                                           $259.00
         2. Community First Credit Union             2013 Ford Edge                                                              $200.00
         3. Sonoma Federal Credit Union              2012 Harley Davidson Road King                                              $100.00


        3. ADMINISTRATIVE COSTS
            Trustee shall receive a percentage of each plan payment, whether made before or after confirmation, as established by
            the United States Trustee.

            Chapter 13 Attorney fees may be included in a Chapter 13 Plan. Fees and costs requested for allowance are as follows:

          Total Fees & Costs Requested            Fees & Costs Received       Balance of Fees & Costs Due             Monthly Payment
                               $3,800.00                        $1,600.00                        $2,200.00                     Pro-Rata

            Fees and costs allowed shall be paid at a fixed monthly rate and will accrue concurrently with pre-confirmation adequate
            protection payments listed in Section 2 above and will be paid with Secured Debt as listed in Section 4A below. Upon a
            pre-confirmation dismissal, all accrued pre-confirmation attorney fees and costs payments held by the Trustee shall be
            disbursed to the attorney.

        4. SECURED DEBT
            Interest shall accrue on all secured claims from the date the petition is filed. Interest will be calculated at 10% per
            annum unless the Debtor specifies otherwise in this Plan. Secured Creditors will retain their liens until their allowed
            secured claims have been paid.

            A) Post-Confirmation Payments to Creditors Secured by Personal Property
                The Debtor seeks a determination that the value of the collateral is as set forth below. Failure to object to this listed
                amount shown may result in the Creditor's secured claim being limited to the collateral value amount listed.
                Creditors will, at minimum, be paid the amount reflected as the monthly payment. The Debtor's omission of any
                secured creditor does not affect the rights of the omitted creditor to file claims and be paid.

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               With respect to a debt for which Debtor has written "Yes" in the column "Surrender" and where the Creditor files a
               written objection to the treatment provided such debt, Debtor surrenders all interest in the collateral, and the debt
               shall be treated under Section 4B below.

       Name of Creditor              Collateral Description           Collateral Secured Debt     Interest      Monthly Surrender
                                                                         Value        Amount        Rate        Payment Yes/No
       1. Ally Financial             2014 Chrysler 300               $12,925.00     $12,925.00     6.75%       Pro-Rata        No
       2. Community First CU         2013 Ford Edge                  $15,438.00     $15,438.00     5.00%       Pro-Rata        No
       3. Sonoma Federal CU          2012 Harley Davidson            $12,442.00     $12,442.00     5.00%       Pro-Rata        No


          B) Surrender of Property
              The Debtor surrenders any interest in the following collateral. The Debtor waives the protection of the automatic
              stay and allows the affected Creditor to obtain possession and dispose of its collateral, without further Order of the
              Court. Any secured claim filed by the below Creditors will be deemed satisfied in full through surrender of the
              collateral. Any unsecured deficiency claim must be filed by the bar date for unsecured debts.

       Name of Creditor                                                  Collateral to be surrendered
       -NONE-


          C) Post Petition Payments on Real Property Debt Paid by Debtor

       Name of Creditor                                    Property Address                                                 Monthly
                                                                                                                     Payment Amount
       1. Lakeview Loan Servicing, LLC                     6663 Highland Cir Kelseyville, CA 95451                         $1,503.54


          D) Pre-Petition Debt on Real Property
              The Trustee shall pay defaulted real property debt. This prorata payment for defaulted real property debts will begin
              after payment in full of the Attorney fees and costs listed in section 3 above.

       Name of Creditor                           Property Address                                       Defaulted     Interest Rate
                                                                                                             Debt
       -NONE-


     5. EXECUTORY CONTRACTS/LEASES

          A) The Debtor assumes the executory contract(s)/lease(s) referenced below and provides for the regular contract/lease
              payment(s), both pre-confirmation and post-confirmation, to be paid directly by the Debtor. Any pre-petition lease
              arrearage will be paid through this Plan after payment of arrearages listed in 4D above.

       Name of Creditor/Lessor         Property Address                        Lease Arrearage Regular # of                    Lease
                                                                          Arrearages Payment by Lease Payments            Payment by
                                                                        as of Date of   Trustee Remaining as of               Debtor
                                                                               Filing            Date of Filing
       -NONE-


          B) The Debtor rejects the following executory contract/lease and surrenders any interest in property securing these
              executory contracts/leases. The Debtor waives the protection of the automatic stay and allows the affected Creditor
              to obtain possession and dispose of its collateral, without further Order of the Court. Any unsecured claim resulting
              from the rejection must be filed by the bar date for unsecured debts:

       Name of Creditor/Lessor                             Identity of Executory                 Property Subject to Executory
                                                           Contract/Lease &                      Contract/Lease
       -NONE-




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      6. PRIORITY CLAIMS
          Trustee shall pay all allowed filed priority claims and will pay the claims listed in 6B below, prior to paying those
          unsecured priority claims listed in sections 6C, 6D, and 6E below. Those claims listed in sections 6C, 6D and 6E below
          will be paid prorata.

             A) Post Petition Domestic Support Obligations:

                    1)       X      None.

                    2) The name(s), and address(es) of the holder of ANY domestic support obligation.

         Name of Creditor                                                   Address

                    3) The Debtor will pay all post-petition domestic support obligations directly to the holder of the claim and not
                        through the Chapter 13 plan.

             B) Pre-Petition Arrearages owed to Domestic Support Obligation Creditors:

                    1)         X      None.

                    2) Name of holder of Domestic Support Obligation Arrearage Claim, arrears and monthly payment.

         Name of Holder                                                                Arrearage                                Monthly Payment

             C) Pre-Petition Domestic Support Obligations assigned to or owed to a governmental unit:

                    1)         X      None.

                    2) Name of Governmental Creditor, address and amount due:

       Name of Governmental Creditor                                  Address                                                       Amount Due

             D) Priority Tax Claims:

       Name of Creditor                                                     Address                                                 Amount Due
       1. Franchise Tax Board                                               PO Box 942840; Sacramento, CA 94240                        $5,714.21
       2. Internal Revenue Service                                          PO Box 21126; Philadelphia, PA 19114                      $15,709.33


             E) Other Priority Claims:

       Name of Creditor                                                     Address                                                 Amount Due
       -NONE-

      7. UNSECURED DEBTS TO BE PAID WITH INTEREST

             A) The following debts shall be paid in full with interest from petition date.

       Name of Creditor                                                 Address                                    Amount Due     Interest Rate
       -NONE-


      8. OTHER UNSECURED DEBTS
          Allowed unsecured claims shall be paid from funds remaining, after payment of the debts described (whether or not paid
          in full with interest) in Sections 2 through 6 above. The amounts to be paid under this Section 8 are estimated to
          be 30 % percent of allowed claims. (Prorata Plan)



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      9. Trustee is to be provided, thru the commitment period of the Plan, with Debtors future Federal Tax Returns, beginning
         with the Prior (2019) tax year, by May 15th of the year following the year of the return. Trustee may request and Debtor
         must supply current income and expense information, on required Trustee forms, for each of the years that the
         tax returns are provided.

      10.The Debtor elects to have property of the estate revest in the Debtor upon Plan confirmation. Once the property revests, the
         Debtor may sell or refinance real or personal property, without further order of the Court, upon approval of the Chapter 13
         Trustee.

      11.Notwithstanding any contrary language elsewhere in the plan, debtor does not seek through the confirmation and
         consummation of this plan either a determination of the dischargeability of any debt or the discharge of any debt that is non-
         dischargeable in a Chapter 13 case pursuant to section 1328 of the Bankruptcy Code.

      12.Debtor(s) shall file a Motion to Value and Avoid Lien (the "Motion") with respect to the lien held by Creditor               , a
          subordinate lien holder on debtor’s residence located at         in an approximate amount of $           and will request an
          order from the Court valuing and avoiding the lien.
          No payment will be made to Creditor as a secured subordinate lien holder while the Motion is pending.
          If the court grants the Motion and determines the subordinate lien held by Creditor is unsecured within the meaning of 11
          U.S.C. § 506, the lien shall dealt with as provided in the Court’s GUIDELINES FOR VALUING AND AVOIDING LIENS
          IN INDIVIDUAL CHAPTER 11 CASES AND CHAPTER 13 CASES. If the Court denies the Motion, the Debtor(s) shall
          promptly, but no more than fourteen (14) days from Notice of Entry of the order denying the motion, amend the Plan to
          provide for appropriate treatment of this lien, consistent with the subject order.
          If the Debtor(s) fails to timely file an amended Plan as provided for above, the Creditor or the Trustee may file a Motion to
          Dismiss for failure to prosecute the case or Creditor may file a Motion for Relief from Stay.
          The Chapter 13 Plan shall not be confirmed until the Court enters its order regarding the Motion.

      13.Other than to complete the information required, the above preprinted language of this plan form shall not be altered. This
         does not mean that the Debtor is prohibited from proposing additional or different plan provisions. As long as the addition of
         different provisions are consistent with the Bankruptcy Code, Debtor may propose additional or different
         plan provisions or specify that any of the above provisions will not be applicable. Each such provision or change shall be set
         out below. Use additional pages if necessary.



Dated: November 14, 2020                   /s/ Mauro Lopez                                     /s/ Mandy Lopez
                                           Mauro Lopez                                         Mandy Lopez
                                                             (Debtor)                                            (Debtor)




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                                 Nonstandard Provisions

   14.   Modification to Section 1.
         Plan is a step plan: $1,649.00 per month for 45 months, then $1,200.00 per
         month for 28 months. Plan is 73 months pursuant to 11 U.S.C. § 1329(d).
   15.   Modification to Section 4.C.
         Lakeview Loan Servicing, LLC: Debtors are currently in a forbearance
         pursuant to the CARES Act. When forbearance ends post-petition arrears
         will be put into a partial claim lien at the end of the loan pursuant to FHA
         loan regulations.




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